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  Scott McKinney, and Ashley Miranda

                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY
                                TRENTON VICINAGE

   JANE DOE (said name being fictitious),      Hon. Georgette Castner, U.S.D.J.

                          Plaintiff(s),        Civil Action No. 24-107 (GC-JBD)

   v.
                                                              CIVIL ACTION
   DELAWARE VALLEY REGIONAL
   HIGH   SCHOOL      BOARD OF                       CERTIFICATE OF SERVICE
   EDUCATION, et al.,

                          Defendant(s).


         I hereby certify that, on this date, Defendants Delaware Valley Regional High

  School Board of Education, Ashley Miranda and Scott McKinney’s opposition to Plaintiff’s

  request for a Temporary Restraining Order and Preliminary Injunction was filed with the

  Clerk of the United States District Court for the District of New Jersey, and a copy was

  served upon all counsel of record via the Case Management/Electronic Case Filing

  (CM/ECF) system.

         I hereby certify that the foregoing statements made by me are true. I am aware that

  if any of the foregoing statements are willfully false, I am subject to punishment.

  Dated: February 7, 2024                                 /s/ Roshan D. Shah, Esq.
                                                          Roshan D. Shah, Esq.


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